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                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA,                            Criminal No. 04-38 (2) ( JRT/RLE)
                                                         Civil No. 06-2176 ( JRT)
                                   Plaintiff,

v.                                               MEMORANDUM OPINION AND
                                                ORDER GRANTING § 2255 MOTION
JOSE BENIGNO AGUILAR,

                                 Defendant.



       Joseph T. Dixon, III, Assistant United States Attorney, OFFICE OF THE
       UNITED STATES ATTORNEY, 600 United States Courthouse, 300
       South Fourth Street, Minneapolis, MN 55415, for plaintiff.

       Jose Benigno Aguilar, #11387-041, Federal Correctional Institution, P.O.
       Box 5000, Greenville, IL 62246, defendant pro se.


       On April 21, 2004, a jury found defendant Jose Benigno Aguilar (“Aguilar”)

guilty on two counts of conspiring to distribute methamphetamine, and aiding and

abetting possession of methamphetamine with intent to distribute, in violation of 21

U.S.C. §§ 841(a), 841(b)(1)(B) and 846. Aguilar was sentenced on September 8, 2005 to

a term of 121 months, and his counsel timely filed a Notice of Appeal on September 16,

2005. Aguilar’s counsel did not, however, file a brief in support of the appeal.

       Despite three orders from the Eighth Circuit to show cause for failure to file an

appeal brief, defense counsel apparently did not file an appeal brief, and Aguilar’s appeal

was dismissed for failure to prosecute on April 26, 2006. Aguilar, a federal prisoner




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presently incarcerated at Greenville, Illinois, brings this motion to vacate his sentence

pursuant to 28 U.S.C. § 2255 for ineffective assistance of counsel.


                                        ANALYSIS

       To prevail on a claim of ineffective assistance of counsel, a defendant must show

that his “counsel’s representation fell below an objective standard of reasonableness” and

that “there is a reasonable probability that, but for counsel’s unprofessional errors, the

result of the proceedings would have been different.” Strickland v. Washington, 466 U.S.

668, 688, 694 (1984); Garrett v. United States, 78 F.3d 1296, 1301 (8th Cir. 1996).

Under Strickland, there is a presumption that the attorney’s representation was competent

and that the challenged decisions constituted permissible strategic and tactical choices of

counsel. Strickland, 466 U.S. at 689.

       A criminal defendant is entitled to effective assistance of counsel on a first appeal

as of right. Evitts v. Lucey, 469 U.S. 387, 396 (1985); Bell v. Lockhart, 795 F.2d 655,

657 (8th Cir. 1986). The Eighth Circuit has held that counsel’s failure to file a notice of

appeal when so instructed by the client constitutes ineffective assistance of counsel for

purposes of section 2255. See Hollis v. United States, 687 F.2d 257, 259 (8th Cir. 1982);

United States v. Beers, 76 F.3d 204, 205 (8 th Cir. 1996). Further, “where ineffective

assistance of counsel deprives a defendant of his right to appeal, courts have not required

a showing of prejudice or of likely success on appeal.” Hollis, 687 F.2d at 259 (internal

quotations omitted) (quoting Robinson v. Wyrick, 635 F.2d 757, 758 (8th Cir. 1981)).

Counsel’s failure to file a brief accompanying the notice of appeal also constitutes

ineffective assistance of counsel. Anders v. California, 386 U.S. 738, 744 (1967).


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       Here, Aguilar’s counsel filed a notice of appeal, but apparently never filed an

appeal brief. As a result, the Eighth Circuit dismissed the appeal for failure to prosecute.

Under these circumstances, Aguilar was denied his constitutional right to effective

assistance of counsel. The Eighth Circuit has held that proper procedure to remedy

Aguilar’s deprivation of his constitutional right to effective assistance of counsel is to

appoint new counsel, vacate the sentence, and resentence Aguilar, such that the time for

appeal will commence from the date of resentencing. 1 See Beers, 76 F.3d at 205.


                                           ORDER

       Based on the foregoing, all the records, files, and proceedings herein, IT IS

HEREBY ORDERED that Aguilar’s motion to vacate under 28 U.S.C. § 2255 [Docket

No. 149] is GRANTED as follows:

       1.     Aguilar’s sentence, imposed on September 8, 2005, is VACATED;

       2.     Aguilar shall be resentenced as expeditiously as possible;

       3.     The Court hereby orders the Office of the Public Defender to appoint new

counsel to Aguilar.


       The Clerk of Court is respectfully directed to mail a copies of this Order to

Mr. Aguilar and Katherian Roe, Federal Public Defender.



DATED:       September 7, 2006                           s/ John R. Tunheim         _
at Minneapolis, Minnesota.                               JOHN R. TUNHEIM
                                                       United States District Judge

       1
         To the extent Aguilar raises additional grounds for relief in his § 2255 petition, the
Court does not address those grounds here, given that the Court is vacating Aguilar’s sentence to
permit him to file a direct appeal.


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